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  14

  15
                        IN THE UNITED STATES DISTRICT COURT

  16
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

  17
                                      WESTERN DIVISION

  18   PAUL SNITKO, JENNIFER                       Case No. 2:21-CV-04405
       SNITKO, JOSEPH RUIZ, and
  19   TYLER GOTHIER,                            DECLARATION OF ROBERT
                                                 FROMMER IN SUPPORT OF
  20                                 Plaintiffs, PLAINTIFFS’ MOTION FOR
                    v.                           PRELIMINARY
  21                                             INJUNCTION AND
                                                 FOR PROVISIONAL CLASS
  22                                             CERTIFICATION
       UNITED STATES OF AMERICA,
  23   TRACY L. WILKISON, in her
       official capacity as Acting United        Date: June 28, 2021
       States Attorney for the Central           Time: 9:00 A.M.
  24                                             Courtroom: 850
       District of California, and KRISTI
       KOONS JOHNSON, in her official            Judge: Hon. R. Gary Klausner
  25                                             Trial Date: TBD
       capacity as an Assistant Director of
       the Federal Bureau of Investigation,      Action Filed: May 27, 2021
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  27                                 Defendants.
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                                   DECLARATION OF ROBERT FROMMER
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   1         I, Robert Frommer, submit the following declaration in support of Plaintiffs’
   2   Motion for Preliminary Injunction and for Provisional Class Certification:
   3         1.     I am a senior attorney at the Institute for Justice (“the Institute”), a
   4   national public interest law firm that litigates to uphold American’s constitutional
   5   rights. The Institute is at the forefront of litigation respecting a broad variety of
   6   property rights issues—including litigation to uphold property rights under the
   7   Fourth and Fifth Amendments.
   8         2.     As a senior attorney at the Institute for Justice I have extensive
   9   experience litigating constitutional issues, including in the class action context. The
  10   same is true of my co-counsel, Robert Johnson, who is also a senior attorney at the
  11   Institute for Justice, as well as other attorneys at the Institute for Justice who will be
  12   available to assist as necessary with the litigation in this case.
  13         3.     I received my law degree magna cum laude from the University of
  14   Michigan Law School in 2004. I clerked on the U.S. Court of Appeals for the
  15   Eighth Circuit with Judge Morris Sheppard Arnold. I also previously worked as an
  16   associate in the Washington, D.C. office of Gibson, Dunn & Crutcher LLP.
  17         4.     My co-counsel Robert Johnson received his law degree magna cum
  18   laude from Harvard Law School in 2009. He clerked on the U.S. Court of Appeals
  19   for the Ninth Circuit for then-Chief Judge Alex Kozinski and on the U.S. Supreme
  20   Court for Justice Anthony Kennedy. He also previously worked as an associate in
  21   the Washington, D.C. office of Gibson, Dunn & Crutcher LLP and in the
  22   Cleveland, OH office of Jones Day.
  23         5.     As a senior attorney at the Institute for Justice, I served as counsel of
  24   record in a class action lawsuit challenging the constitutionality of the City of
  25   Philadelphia’s civil forfeiture procedures. Sourovelis v. City of Philadelphia, No.
  26   14-cv-4687 (E.D. Pa.). Our team successfully defended that class action against
  27   multiple separate motions to dismiss. See 103 F. Supp. 3d 694 (E.D. Pa. 2015); 246
  28   F. Supp. 3d 1058 (E.D. Pa. 2017). Our team then successfully negotiated a class
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   1   settlement under which the City of Philadelphia agreed to reform its civil forfeiture
   2   procedures and also agreed to return significant amounts of property to victims of
   3   civil forfeiture in the form of restitution. See 2021 WL 344598 (E.D. Pa. Jan. 28,
   4   2021). I personally presented argument at the settlement hearing resulting in the
   5   successful termination of that case.
   6         6.     My co-counsel, Robert Johnson, served as counsel of record in Cho v.
   7   City of New York, No. 16-cv-7961 (S.D.N.Y.), a putative class action lawsuit
   8   challenging the New York Police Department’s practice of using New York City’s
   9   nuisance eviction law to extract coercive agreements waiving constitutional rights.
  10   After the case was dismissed on procedural grounds, Robert successfully argued the
  11   appeal to the Second Circuit and obtained a decision vacating and remanding to the
  12   district court. See 910 F.3d 639 (2018). On remand, the Institute successfully
  13   negotiated a settlement under which New York City agreed that it would no longer
  14   enforce the challenged coercive agreements. See No. 16-cv-7961, Dkt. #111
  15   (S.D.N.Y. Oct. 2, 2020).
  16         7.     Both Robert Johnson and I served as counsel of record in Harjo v. City
  17   of Albuquerque, 16-cv-1113 (D.N.M). Following extensive discovery into the
  18   finances of the City of Albuquerque’s civil forfeiture program, that case resulted in
  19   a federal district court decision that struck down the City’s program on the ground
  20   that it gave rise to an improper financial incentive on the part of city officials and
  21   accordingly violated due process. See 326 F. Supp. 3d 1145, 1195 (D.N.M. 2018).
  22   The court in Harjo also separately held that the City’s procedures violated due
  23   process insofar as property owners were required to prove their own innocence. See
  24   id. at 1208. The Harjo opinion is one of the first published decisions invalidating a
  25   civil forfeiture program on such constitutional grounds.
  26         8.     Robert Johnson also has experience litigating to contest property
  27   seizures by the federal government. For instance, in United States v. $107,702.66
  28   (E.D.N.C.), Robert successfully obtained the return of over $100,000 seized by the
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   1   federal government under the structuring laws. When the government moved to
   2   drop the case without prejudice, Robert successfully opposed the government’s
   3   motion and obtained a decision dismissing the action with prejudice. 2016 WL
   4   413093 (E.D.N.C. Feb. 2, 2016); see also, e.g., In re $446,651.11 in U.S. Currency,
   5   No. 14-mc-1288 (E.D.N.Y.) (obtaining return of almost half a million seized under
   6   the structuring laws); Vocatura’s Bakery, Inc. v. IRS, No. 16-mc-147 (D. Conn.)
   7   (obtaining return of $68,000 seized under the structuring laws).
   8         9.     The Institute for Justice, as an organization, has significant additional
   9   experience litigating cases involving property rights—including putative class
  10   actions—and other attorneys at the Institute will be available to bring that expertise
  11   to bear as needed in this litigation. See, e.g., Timbs v. Indiana, 139 S. Ct. 682
  12   (2019) (holding that the Excessive Fines Clause is incorporated against the states in
  13   a civil forfeiture case litigated and argued by the Institute for Justice); Whitner v.
  14   City of Pagedale, No. 4:15-cv-01655, Dkt. #116 (E.D. Mo. May 21, 2018)
  15   (approving federal consent decree prohibiting abusive ticketing practices, in a class
  16   action lawsuit litigated by the Institute for Justice).
  17         10.    Our local counsel, Nilay Vora, is a recognized trial and appellate
  18   lawyer with experience litigating civil rights cases. Mr. Vora received his law
  19   degree cum laude from Harvard Law School in 2009. While at Harvard Law
  20   School, he was heavily involved in civil rights organizations and engaged in
  21   significant clinical work involving civil rights and criminal defense. Before starting
  22   The Vora Law Firm, P.C., he worked for such well known law firms as Quinn
  23   Emanuel Urquhart & Sullivan, Bird Marella, LTL Attorneys, and Jeffer Mangels.
  24         11.    Mr. Vora has worked on civil rights and criminal defense matters
  25   throughout his career. He has been asked to assist in important civil rights matters
  26   pro bono in an advisory role helping to develop impact litigation strategy for many
  27   organizations, including, without limitation, the ACLU of Southern California,
  28   Public Counsel, the Promise of Justice Initiative in New Orleans, Louisiana, and
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   1   public defender offices inside and outside of California.
   2         12.    Mr. Vora currently serves on the Board of Directors for the Promise of
   3   Justice Initiative (“PJI”), a New Orleans based organization that works to ensure
   4   humane, fair, and equal treatment of individuals in the criminal justice system. PJI
   5   handles strategic defense of individuals sentenced to death and impact litigation to
   6   improve the conditions of confinement for incarcerated individuals. PJI’s efforts
   7   have also resulted in the litigation of and implementation of a requirement that all
   8   juries in criminal trial verdicts be unanimous for conviction pursuant to the U.S.
   9   Constitution’s requirements. He also serves on the Pro Bono Advisory Council for
  10   Asian Americans Advancing Justice-Los Angeles (the successor organization to the
  11   Asian Pacific American Legal Center), one of the oldest civil rights organizations
  12   dedicated to advancing and protecting the rights of and advocating for individuals
  13   of Asian descent in Southern California.
  14         13.    As just one example of Mr. Vora’s work on civil rights cases, Mr.
  15   Vora served as co-lead counsel and first chair at the trial and appellate levels in the
  16   matter of Ball v. LeBlanc, 13-cv-00368 (M.D. La.), in which three death row
  17   inmates successfully challenged the conditions of their confinement. Mr. Vora
  18   argued the case before the Fifth Circuit Court of Appeals twice, and the matter had
  19   a petition for certiorari pending with the Supreme Court of the United States when
  20   the case finally settled through a consent decree.
  21         14.    Mr. Vora is also joined as local counsel by Jeffrey Atteberry. Mr.
  22   Atteberry received his law degree from the University of California, Berkeley,
  23   School of Law, in 2009, where he graduated Order of the Coif. Mr. Atteberry also
  24   has extensive experience litigating civil rights cases. He has represented numerous
  25   clients with civil rights claims under 42 U.S.C § 1983, litigating several of them to
  26   jury verdicts in both the Central and Eastern Districts of California.
  27         15.    The Institute for Justice has capacity to thoroughly and vigorously
  28   litigate the claims in the case and to properly represent the plaintiff class, and
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     intends to commit all necessary resources to do so. If appointed class counsel, I will
 2   ensure that Mr. Johnson, Mr. Vora, Mr. Atteberry and I zealously represent the
 3   interests of the class to. the best of our collective ability. In addition, additional
 4   attorneys from the Institute will be available to assist with the litigation and enter
 5   appearances as circumstances warrant.
 6          I declare under penalty of perjury under the laws of the United States that the
 7   foregoing is true and correct.
 8
           Executed this .:<'JK day      of~------_
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                                               Robert "Frommer
II

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                                 DECLARATION OF ROB ERT FROMMER
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   1                                PROOF OF SERVICE
   2         I am employed in the County of Los Angeles, State of California, and am a
       member of the bar of the United States District Court for the Central District of
   3   California. I am over the age of 18 and not a party to this action. My business
       address is 201 Santa Monica Blvd., Santa Monica, CA 90401. My electronic
   4   service address is nvora@voralaw.com. On the execution date below and in the
       manner stated herein, I caused service of a true and correct copy of
   5   DECLARATION OF ROBERT FROMMER, on all interested parties in this
       action as follows:
   6
       [ X ] BY MAIL. By depositing in a sealed envelope in the United States mail
   7   with postage thereon fully prepaid to the following address:
   8
        Tracy L. Wilkison                           United States of America
   9    Civil Process Clerk                         c/o U.S. Attorney General
        United States Attorney’s Office             Merrick Garland
  10    Federal Building                            U.S. Department of Justice
        300 N. Los Angeles Street, Suite 7516       950 Pennsylvania Avenue NW
  11    Los Angeles, CA 90012                       Washington, DC 20530-0001
  12    Kristi Koons Johnson (in her official
        capacity)
  13    Federal Bureau of Investigation
        Assistant Director in Charge
  14    11000 Wilshire Boulevard, Suite 1700
        Los Angeles, CA 90024
  15

  16   [ X ] BY E-MAIL. By electronic mail transmission to the offices of the following
       addressee(s):
  17
                                  andrew.brown@usdoj.gov
  18
       [ X ] (STATE) I declare under penalty of perjury under the laws of the State of
  19   California that the above is true and correct.
  20         Executed on May 27, 2021, at Los Angeles, California.
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  22                                      /s/ Nilay U. Vora
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                                DECLARATION OF ROBERT FROMMER
